                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Civil Action No. 08-cv-00984-DME-MEH

GILLIE THURBY,

             Plaintiff,

v.

ENCORE RECEIVABLE MANAGEMENT, INC., a Kansas corporation,

             Defendant.


                     ORDER DISMISSING CASE WITH PREJUDICE


        THE COURT having reviewed the Stipulation of Dismissal with Prejudice

pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure and being fully

advised in the premises, DOES HEREBY ORDER that this case is Dismissed with

Prejudice, with each party to pay his or its own attorney’s fees and costs.



                                  BY THE COURT:



October 2, 2008                   s/ David M. Ebel______________________
DATE                              DAVID M. EBEL
                                  U.S. CIRCUIT JUDGE
